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          UNITED STATES BANKRUPTCY COURT

          SOUTHERN DISTRICT OF NEW YORK

                                       )
     In re:                            )                                Chapter 11
                                       )
     RUNWAY LIQUIDATION HOLDINGS, LLC, )                                Case No. 17-10466 (SCC)
     et al.,3                          )
                                       )
                         Debtors.      )                                (Jointly Administered)
                                       )

                         STIPULATION AND AGREED
             ORDER RESOLVING (I) CLAIM NO. 454 OF DIRECT SOURCE
            PACKAGING CO., LLC AND (II) THE PLAN ADMINISTRATOR’S
        FIFTEENTH OMNIBUS (NON-SUBSTANTIVE) OBJECTION TO CERTAIN
           CLAIMS (AMENDED, REDUCE AND RECLASSIFY/REDUCE) AS IT
          RELATES TO DIRECT SOURCE PACKAGING CO., LLC CLAIM NO. 5


          This stipulation (the “Stipulation”) is made between David MacGreevey, in his capacity as

 plan administrator (the “Plan Administrator”) acting on behalf of Runway Liquidation Holdings,

 LLC, and its affiliated post-effective date debtors (collectively, the “Post-Effective Date Debtors”

 and before the Effective Date of the Plan, the “Debtors”), and Direct Source Packaging Co., LLC

 (“Direct Source,” and together with the Plan Administrator, collectively, the “Parties”), by and

 through the undersigned counsel. Direct Source Packaging Co., LLC is a Delaware limited liability

 company.

                                                    RECITALS

          WHEREAS, on February 28, 2017 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief under chapter 11 of the Bankruptcy Code.




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  The Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, include: Runway Liquidation Holdings, LLC (6857); Runway Liquidation, LLC (5942);
 Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation, LLC (9200); and MMH Liquidation,
 LLC (3854).

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          WHEREAS, on July 26, 2017, the Court entered its Findings of Fact, Conclusions of Law,

 and Order Confirming the Amended Joint Plan of Reorganization of BCBG Max Azria Global

 Holdings, LLC and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket

 No. 591] confirming the chapter 11 plan annexed thereto (the “Plan”).

          WHEREAS, on July 31, 2017, the Effective Date of the Plan occurred. See Notice of (I)

 Entry of Order Confirming the Amended Joint Plan of Reorganization of BCBG Max Azria Global

 Holdings, LLC and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code and (II)

 Occurrence of Effective Date [Docket No. 601]. Pursuant to the Plan, the Plan Administrator was

 appointed on the Effective Date “to implement the Plan and to make distributions thereunder and

 wind down the businesses and affairs of the Debtors and Post-Effective Date Debtors.” Plan at

 Article IV.E. This includes the authority “to File, withdraw, or litigate to judgment objections to

 Claims or Interests.” Id. at Article VII.B.

          WHEREAS, on September 28, 2017, the Court entered the Objection Procedures Order.

          WHEREAS, on March 2, 2017, Direct Source filed a proof of claim identified as claim

 number 5 (“Claim 5”) on the official claims register (the “Claims Register”), asserting a non-

 priority general unsecured claim in the amount of $293,897.56 on account of goods sold.

          WHEREAS, on May 15, 2017, Direct Source filed a proof of claim identified as claim

 number 454 (“Claim 454”) on the Claims Register, asserting an administrative priority claim in the

 amount of $193,237.00 on account of goods received by the Debtors within 20 days before the

 Petition Date.

          WHEREAS, on April 23, 2018, the Plan Administrator filed the Plan Administrator’s

 Fifteenth Omnibus (Non-Substantive) Objection to Certain Claims (Amended, Reduce and




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 Reclassify/Reduce) [Docket No. 879]. The Plan Administrator objected to Claim 5 seeking to

 reduce the amount asserted thereunder.

          WHEREAS, the Plan Administrator and Direct Source have agreed to resolve the Fifteenth

 Omnibus Objection as it relates to Claim 5 and otherwise resolve all disputes regarding Claim 454

 on the terms and conditions set forth in this Stipulation.

                                            STIPULATION

          NOW, THEREFORE, in consideration of the foregoing, the Parties hereby agree and

 stipulate as follows:

          1.       The foregoing recitals are hereby fully incorporated into and made an express part

 of this Stipulation.

          2.       This Stipulation is made expressly contingent upon approval of, and entry by, the

 Bankruptcy Court (the date of such entry being referred to herein as the “Stipulation Effective

 Date”) and, should the Stipulation not be approved and entered, the Parties will be deemed to

 have returned to their respective positions immediately prior to the execution of this Stipulation

 with all rights and privileges reserved.

          3.       The Parties agree that Claim 5 shall be allowed as a non-priority, general

 unsecured claim in the reduced amount of $163,897.56 (the “GUC Amount”).

          4.       The Parties further agree that Claim 454 shall be allowed as an administrative

 priority claim in the amount of $130,000.00 (the “Administrative Amount”).

          5.       The Administrative Amount shall be paid in full within thirty (30) days of the

 Stipulation Effective Date.

          6.       The GUC Amount shall be paid in accordance with the Plan.




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          7.       This Stipulation shall be binding upon, and shall inure to the benefit of each of,

 the Plan Administrator, the Post-Effective Date Debtors, Direct Source, and each of their

 respective agents, employees, representatives, assigns, successors in interest, and attorneys, and

 shall be binding and effective.

          8.       Direct Source represents that it has not transferred any claim (or any portion

 thereof) that is the subject of this Stipulation.

          9.       Each of the Parties shall be responsible for its respective costs and expenses

 (including, without limitation, attorneys’ fees and expenses) incurred by it in negotiating,

 drafting, and executing this Stipulation and shall not be responsible for the payment of any such

 fees or expenses incurred by any other party hereto.

          10.      This Stipulation constitutes the entire agreement between the Parties and may not

 be amended or modified in any manner except by a writing signed by both of the Parties or their

 counsel and approved by the Bankruptcy Court.

          11.      This Stipulation shall be governed by and construed in accordance with the laws

 of the State of New York without regard to any law concerning the conflicts of laws.

          12.      Each Party and signatory to this Stipulation represents and warrants to each other

 Party that such Party or signatory has full power, authority, and legal right and has obtained all

 approvals and consents necessary to execute, deliver, and perform all actions required under this

 Stipulation and, where applicable, has obtained all authority, approvals, and consents necessary

 to act on behalf of another Party to execute, deliver, and perform all actions required under this

 Stipulation.

          13.      The Bankruptcy Court shall retain exclusive jurisdiction to hear and finally

 determine all disputes arising from or related to this Stipulation, including the performance of the



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 Parties’ obligations hereunder and the interpretation of this Stipulation. The Parties each consent

 to the Bankruptcy Court hearing and finally determining all such disputes. Further, the Parties

 each agree to waive trial by jury in an action, proceeding, or counterclaim brought by or on

 behalf of the Parties hereto with respect to any such dispute.



  Dated:     New York, New York           PACHULSKI STANG ZIEHL & JONES LLP
             December 10, 2018

                                          /s/ Beth E. Levine
                                          Robert J. Feinstein, Esq.
                                          Bradford J. Sandler, Esq.
                                          Beth E. Levine, Esq.
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                                          Counsel to the Plan Administrator

  Dated:     Melville, New York           RIGANO LLC
             December 6, 2018

                                          /s/ Nicholas C. Rigano
                                          Nicholas C. Rigano, Esq.
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                                          Suite 217
                                          Melville, New York 11747
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                                          Counsel to Direct Source Packaging Co., LLC




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 SO ORDERED:
 _______________, 2018



 HONORABLE SHELLEY C. CHAPMAN
 UNITED STATES BANKRUPTCY JUDGE




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